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                                                                                        Filed: 1/11/2023 4:54 PM
                                                                                                            Clerk
                                      Knox Circuit Court                                   Knox County, Indiana




STATE OF INDIANA              )            IN THE KNOX SUPERIOR COURT I
                              )
COUNTY OF KNOX                )            SITTING AT VINCENNES, INDIANA

CONNIE CHAMBERS                      )
                                      )
       Plaintiff,                     )
                               vs.
                          ) CAUSE NO.:                     42C01-2301-PL-000002
                          )
OPTUMHEALTH CARE          )
SOLUTIONS, LLC, THE       )
CENTERS FOR MEDICARE       )
AND MEDICAID SERVICES and )
UNITED HEALTHCARE          )
CORPORATION                )
                           )
           Defendants       )

      COMPLAINT FOR DAMAGES AND FOR PRELIMINARY
                      INJUNCTION

       Plaintiff Connie Chambers (“Chambers”) for her Complaint against Defendants

Optumhealth Care Solutions, LLC           (“Optum”) and United Healthcare Corporation

(“United”) and her Trial Rule 65(A) Petition for Preliminary Injunction against the Centers

for Medicare and Medicaid Services (“CMS”) alleges as follows:

   1. At all times relevant for purposes of this Complaint Optum was an insurance

       company, pharmacy benefit manager, insurance broker, insurance agent and/or

       other health care insurer or provider and a wholly-owned subsidiary of United with

       its principal place of business in Eden Prairie, Minnesota.


   2. At all times relevant for purposes of this Complaint United was a healthcare and

       insurance provider and the parent corporation of Optum with its principal place of

       business in Minnetonka, Minnesota.
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   3. At all times relevant for purposes of this Complaint Chambers was a resident and

      domiciliary of Knox County, Indiana.

   4. On December 2, 2020, a Knox County, Indiana lawsuit filed by Chambers under

      cause number 42D01-1703-CT-000008 against Defendant DWN Management, Inc.

      (“DWN”) was dismissed after settlement.

   5. The insurance carrier for DWN was American Family Insurance Company

      (“American Family”).

   6. At the time of settlement a Medicaid lien (“lien”) existed.

   7. At the time of the settlement Chambers was represented by the law firm of Joe D.

      Black (“the Black Firm”).

   8. Neither Chambers nor the Black Firm were put on notice of any other lien(s).

   9. Prior to settlement Optum repeatedly represented, in writing, that it was authorized

      to negotiate and settle the lien.

   10. Prior to settlement Optum repeatedly represented, in writing, that it was an agent

      with the express authority to negotiate and settle the lien.

   11. Based on Optum’s representations the Black Firm negotiated and settled the lien

      with Optum for $5,000.00.

   12. American Family provided a $5,000.00 draft payable directly to Optum which it

      negotiated in full and final settlement of the lien.

   13. After settling the lien CMS began contacting Chambers requesting payment of the

      lien.
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   14. CMS has denied that Optum was authorized to negotiate or settle the lien.

   15. Repeated written requests have been made to Optum to contact Chambers or CMS

      about the lien but Optum has failed to do so.

   16. As a wholly-owned subsidiary of United, at all times relevant for purposes of this

      Complaint, Optum was so intertwined, connected and controlled by United it was

      the alter ego of United.

   17. Due to their relationship United is liable for the acts and omissions of Optum.

   18. Chambers understands and alleges that at all times relevant for purposes of this

      Complaint, unless otherwise designated, each of the Defendants were the agent,

      employee or authorized representative of each of the remaining Defendants and

      were at all times acting within the purpose and scope of such agency, representation

      and/or employment.

   19. To date Optum has failed to respond to repeated requests for information,

      clarification and assistance as to the lien, without explanation or justification.

   20. In falsely representing that it was authorized to negotiate and settle the lien Optum

      fraudulently misled Chambers, omitted information as to Optum’s authority to

      negotiate and settle the lien, subjected Chambers to liability and failed to protect her

      and hold her harmless as to claims for accord and satisfaction from third parties

      including CMS.

   21. Chambers reasonably relied on Optum’s misrepresentations, fraud, constructive

      fraud and omissions as to its authority to compromise and settle the lien to her

      detriment.
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   22. The fraud, fraud by omission and misrepresentation committed by Optum precluded

      Chambers from properly assessing her risks and options as to the lien and the nature

      and extent of her exposure and liability to third parties including CMS.

   23. The fraud, fraud by omission and misrepresentation committed by Optum breached

      the duty of good faith and fair dealing it owed to Chambers, is unconscionable and

      warrants an award of punitive damages, costs and attorney fees for its bad faith and

      as a deterrent as to such conduct in the future.

   24. From the surrounding facts and circumstances, the unjust enrichment of Optum, the

      positions and knowledge of the parties and the actions of Optum, it breached a

      contract with Chambers implied-in-fact or implied-in-law subjecting Chambers to

      liability and damage as a result of the breach.

   25. To the extent any alleged payment or other legal responsibility as to the lien may be

      owed to CMS, Chambers alleges Optum is solely and exclusively liable and should

      indemnify and hold Chambers harmless.

   26. Chambers entreats the Court to adjudicate the issues related to any claim by CMS

      and alleges that these issues are ripe for determination.

   27. The actions of Optum as alleged herein have no legal defense or justification.

   28. The actions of Optum as outlined in this Complaint are a violation of the Clean

      Hands Doctrine causing it to have “unclean hands.”

       WHEREFORE, Plaintiff, Connie Chambers, prays for an award of compensatory

   and related damages, punitive damages, costs, attorney fees and all other just and

   proper relief in the premises. Plaintiff, Connie Chambers, further pray that this Court
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    determine and adjudicate the rights of the parties hereto with respect to the petitioned

    preliminary injunction declaring:


        1.      CMS should be enjoined from further collection activity until the Court

        makes a judgment on the merits as to the rights and liabilities of the parties pursuant

        to Trial Rule 65(A);

        2.      Optum should indemnify and hold Plaintiff, Connie Chambers, harmless

        from any and all alleged liability to CMS in relation to the Medicaid lien in question;

        3.      Plaintiff, Connie Chambers, is entitled to an award of compensatory and

        related damages, punitive damages, costs, and attorney fees in this action; and

        4.      All remaining issues of fact in this action shall be addressed by a jury.



                                              ____________________
 Date 1/11/2023                                Rhea M. Jones-Price
                                               PO Box 202
                                               Vincennes, IN 47591
                                               Telephone (812) 886-1563
                                               Facsimile (812) 954-0159




                                   JURY DEMAND

 Plaintiff, Connie Chambers, demands a trial by jury.


                                               ___________________
                                               Rhea M. Jones-Price
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